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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 QJ TEAM, LLC AND FIVE POINTS                       §
 HOLDINGS, LLC, individually and on                 §
 behalf of all other persons similarly              §
 situated,                                          §
                                                    §
         Plaintiffs,                                §
                                                    §
 v.                                                 §       CIVIL ACTION NO.
                                                    §       4:23-cv-01013-SDJ
 TEXAS ASSOCIATION OF                               §
 REALTORS, INC., et al.,                            §
                                                    §
                                                    §
         Defendants.                                §


                                 NOTICE OF RELATED CASE

       By this notice, Defendant Houston Association of Realtors, Inc. (“HAR”) hereby notifies

the Court that a very similar case, styled: Julie Martin, et al. v. Texas Association of Realtors, Inc.,

et al., Case No. 4:23-cv-01104, was filed on December 14, 2023, in the United States District

Court for the Eastern District of Texas, Sherman Division. Many of the named defendants in the

new Martin case, including HAR, also are named as defendants in the QJ Team case, and the

claims in both cases are virtually identical. Despite these similarities, the Civil Cover sheet filed

with the Complaint in the Martin case does not indicate that there already is a related case filed in

this Court, which is why HAR is filing this Notice with the Court.




NOTICE OF RELATED CASE                                                                          PAGE 1
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 Dated: December 14, 2023                     Respectfully submitted,


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                                                    ATTORNEYS FOR DEFENDANT
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                                                    REALTORS, INC.



                                CERTIFICATE OF SERVICE

        Pursuant to Rule 5(d)(1)(B) of the Federal Rules of Civil Procedure, as amended, no
certificate of service is necessary because this document is being filed with the court’s electronic
filing system.




NOTICE OF RELATED CASE                                                                      PAGE 2
